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                                                                                November 18, 2022
          Honorable Carol Bagley Amon
          United States District Court Judge
          Eastern District of New York
          225 Cadman Plaza East
          Brooklyn, New York 11201


                             Re:     CIT Bank, N.A. v. Zisman, et. al.
                                     Docket Number: 17-cv-02126(CBA)
                                     Premises: 4414 10th Avenue, Brooklyn, New York


          Dear Judge Amon:

          This firm represents Defendants, Sharon Zisman and Berel Zisman1, in this action. This letter motion
          respectfully requests Court leave to supplement Defendants’ prior motion for attorney’s fees [DE 73]
          to include additional legal fees which the Defendants have incurred since the filing of that motion.

          Defendants’ motion for legal fees was filed more than two years’ ago, on May 13, 2020. Since that
          time, there were several motions (either filed before that date and continued after that date or filed for
          the first time after that date) including Plaintiff’s motion for reconsideration [DE 67] and Plaintiff’s
          motion to vacate [DE 91].

          By docket text order on March 1, 2021, Defendants’ motion for legal fees was referred to the
          Honorable Ramon E. Reyes, Jr., for a report and recommendation. On June 10, 2021, the Honorable
          Ramon E. Reyes entered a docket text report and recommendation stating that “In light of the fact that
          the underlying dispute has not been resolved [with a reference to Plaintiff’s motion to vacate DE 91],
          I respectfully recommend that the issue of attorney’s fees be deferred to a later date.”




          1
              Berel Zisman died on March 12, 2021.
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By text order on June 29, 2021, the Court adopted the report and recommendation of the Honorable
Ramon E. Reyes, Jr. and ordered that “the disposition of the pending motion for attorney’s fees will
be deferred until resolution of the pending motion to vacate judgment (see DE 91).”

Now that Plaintiff’s motion to vacate the judgment has been decided and the judgment upheld,
Defendants’ motion for attorney’s fee is ripe for adjudication save for that in the interim two years
there has been additional attorneys fees which the Defendants have incurred which should be
similarly considered in Defendants’ motion for attorney’s fees.

As a result, it is respectfully requested that the Defendants be granted leave to supplement their
motion for attorney’s fees with additional attorney’s fees Defendants have incurred since that time,
after which the motion should be considered by Honorable Ramon E. Reyes, Jr. for his report and
recommendation.




                                                     Respectfully submitted,
                                                     Mark M. Kranz
                                                     Mark M. Kranz




Copy via ECF to

BRONSTER LLP
Attention: Sean Monahan, Esq.
Attorneys for the Plaintiff, CIT Bank, N.A.
